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DEFENDANTS' MOT|ON lN L|MlNE RE |NT§RRQ_§.`»ATQRY B_|§S'P _`t~\'lSE OF Tj
C|TY OF DANBURY
The Defendants in the above matter respectfully move this Court to preclude
the Plaintiff from introducing portions of his exhibit, referenced Exhibit 66: City of
Danbury's responses to interrogatories and Request for Production, in the Plaintiff and
Defendants' Joint Trial Memorandum dated July 30, 2004. As is more specifically set
forth in the attached memorandum of law, this exhibit should be precluded because it

is inadmissible pursuant to the Federal Rules of Evidence.

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ORAL ARGUMENT IS REQUESTED

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